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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

EVELYN B. GADOR,

       Plaintiff,

v.                                          Case No: 8:22-cv-2459-VMC-AAS

TRANSUNION, LLC and EXPERIAN
INFORMATION SOLUTIONS, INC.,

       Defendants.
                                     /

                       FAST-TRACK SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16, the Court

finds it necessary to implement a schedule tailored to meet the

particular circumstances of this case, which was brought under the

Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (FCRA).

Therefore,     consistent    with   the    just,   speedy      and   inexpensive

administration of justice, see Fed. R. Civ. P. 1, it is:

       ORDERED that the provisions of Rule 26 (a)(1) and the Local

Rules concerning the initial disclosures and filing of a Case

Management Report are hereby waived in this case. Instead, the

parties shall comply with the following schedule:

       1.     No later than January 24, 2023, the parties shall serve

upon   each    other   but   not   file   with   the   Court    copies   of   the

following:
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       A.   Plaintiff1

       All documents in Plaintiff’s possession, custody, or control

that relate to the consumer report, adverse employment action,

and/or disputed information at issue in this action, along with

all documents and/or communications, whether sent or received,

between Plaintiff and Defendant regarding the alleged violation.

       Upon furnishing the information to Defendant, Plaintiff shall

file a Certificate of Compliance with the Court.

       B.   Defendant

       All documents in Defendant’s possession, custody, or control

that relate to the consumer report, adverse employment action,

and/or disputed information at issue in this action, along with

all documents and/or communications, whether sent or received,

between Plaintiff and Defendant regarding the alleged violation.

       Upon furnishing the information to Plaintiff, Defendant shall

file a Certificate of Compliance with the Court.

       2.   Until further order of this Court, all discovery in this

case is STAYED, except as necessary to obtain and provide the

information set forth in Paragraph 1.

       3.   On or before February 8, 2023, Plaintiff is directed to

file   on   the   docket   Answers   to   the   Court’s   Interrogatories.

Thereafter, by February 23, 2023, Defendant is directed to file



1 If there is more than one plaintiff or defendant, the singular
reference to plaintiff or defendant shall include the plural.
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Answers to the Court’s Interrogatories. Those Interrogatories are

attached to this Order.

      4.    This action is referred to mediation. The Court appoints

Gregory P. Holder, located at 1511 N. Westshore Blvd., Suite 700

Tampa, Florida 33607, (813) 382-5444, as mediator.

      5.    The mediation shall be conducted as outlined in this

Order and Chapter Four of the Local Rules.

      6.    Scheduling Mediation: The parties must mediate no later

than March 27, 2023. However, the parties are not permitted to

mediate until the information exchange outlined in this Order,

including answers to interrogatories, has been completed.

      7.    Rescheduling     Mediation:      If    the    mediation       date   is

approaching, and the parties realize they will not be able to

complete the document exchange and interrogatory answers called

for herein, the parties are directed to file a motion to reschedule

the mediation. In any event, once the mediation has been scheduled,

the   parties   may   not    unilaterally         reschedule     the   mediation

conference—a motion must be filed, and leave of Court obtained, if

they seek to reschedule the mediation. In the motion to reschedule,

counsel must include the proposed date of rescheduling; the Court

reserves the right to deny any motion that seeks to reschedule the

mediation   conference      for   a   date   beyond      the   deadline    set   in

Paragraph 6. If the Court authorizes the parties to reschedule the

mediation conference, the parties may still be required to pay the
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mediator’s    cancellation     fee.   Thus,   the   parties    are    strongly

encouraged     to     promptly     exchange     documents       and     answer

interrogatories, as required herein, and to diligently adhere to

all deadlines to avoid unnecessary expense.

      8.    Cancelling Mediation: Once the mediation conference is

set, neither party may cancel the mediation without first obtaining

leave of Court, even if the parties have reached a settlement.

      9.    Designation    and     Responsibility     of      Lead    Counsel:

3/27/2023, is designated as Lead Counsel and must consult both the

mediator and other counsel to coordinate the day and time of the

mediation. By December 9, 2022, Lead Counsel must file a notice of

mediation that states the agreed day and time of mediation. When

the notice is filed, the agreed day for the mediation replaces the

deadline in Paragraph (c). Extension of the mediation deadline

requires a Court order and is increasingly disfavored as the

mediation deadline approaches. Before moving for an extension of

the mediation deadline, the movant must consult both the mediator

and opposing counsel to determine an agreed day and time for the

rescheduled mediation. Under Local Rule 3.01(g), a motion for an

extension of the mediation deadline must certify that the movant

has conferred with opposing counsel and must state whether counsel

agrees to the resolution of the motion.

      10.   General    Rules     Governing    the    Mediation:       Although

mediation is governed by Chapter Four of the Local Rules, the
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following additional requirements apply:

           (a)   Case Summary: At least five business days before

           the scheduled mediation, each party must email directly

           to the mediator and to opposing counsel a brief written

           summary of the facts and issues of the action. The

           mediator and the parties must treat each summary as a

           confidential communication and must not disclose the

           summary or the summary’s content.

           (b)   Authority of the Mediator: The mediator may confer

           privately    with   any   counsel,   an   individual    party,    a

           corporate    or   municipal   representative,    or     a    claims

           professional for any proper purpose in the mediator’s

           discretion. The mediation must continue until adjourned

           by the mediator. No participant may compel the early

           conclusion of a mediation because of travel or another

           engagement. Only the mediator may declare an impasse or

           end the mediation. To coordinate the mediation, the

           mediator may set an abbreviated scheduling conference

           before the mediation.

           (c)   Attendance: The Court directs that all counsel,

           parties,    corporate     representatives,     and     any   other

           required claims professionals shall be present at the

           mediation conference with full authority to negotiate a

           settlement. Absent exigent circumstances and leave of
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            Court,     lead    counsel     must      appear    at    the        mediation

            conference;       failure    to    comply     will      result       in    the

            imposition    of     sanctions.       The    Court      does    not       allow

            mediation by telephone or video conference.                         Personal

            attendance is required.

            (d) For cases in which statutory attorneys’ fees may be

            claimed,     counsel      should      be      prepared         to    discuss

            reasonable        attorneys’      fees      and   should        have      that

            information in hand at the mediation conference.

      11.   Compensation        of   the      Mediator:       The     parties         must

compensate the mediator at the mediator’s prevailing hourly rate,

which, unless otherwise agreed by counsel, the parties must bear

equally and pay immediately after the mediation. The parties must

comply with the reasonable cancellation policy established by the

Mediator, which states:

      When a case is cancelled or rescheduled with less than
      fourteen (14) days notice, [the Mediator] will bill all
      sides equally for the Minimum Charge for the time
      reserved unless the parties have agreed otherwise. Time
      of notice is computed as under Rule 6, Fed. R. Civ. P.
      [The Mediator does] not waive cancellation/rescheduling
      charges unless [the Mediator is] able to book another
      case in the reserved time slot.        Cancellation or
      rescheduling should be confirmed in writing (email or
      fax is sufficient) to all parties. Please inform [the
      Mediator] immediately of any motion which may result in
      the re-scheduling of the mediation, or of any
      negotiation which might make the mediation unnecessary.

      12.   Results of Mediation: Lead Counsel must file a notice

informing the Court of the results of the mediation conference
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within twenty-four hours from the conclusion of the mediation

conference.

       13.   Case Management Report and Additional Information: In

the event mediation does not result in settlement of this action,

the parties must conduct a case management meeting immediately

after the mediation conference, during which the parties shall

jointly prepare the attached fast-track case management report.

The parties shall file the completed fast-track case management

report within twenty-four hours of the conclusion of the mediation

conference. In addition, the parties shall file a separate notice

also within twenty-four hours of the conclusion of the mediation

conference informing the Court of the legal issues they believe

will need to be resolved at the summary judgment stage and/or the

factual matters they believe will be at issue during trial.

       14.   After review of the parties’ fast-track case management

report, the Court will determine if a Case Management Hearing is

required. If a Case Management Hearing is required, the Court

will    conduct   such   hearing   approximately   one   week   after   the

parties’ mediation conference. The Court will enter a notice

indicating the date and time of the hearing. Counsel are advised

that this case will be set for trial approximately 90-120 days

after the mediation conference. At the Case Management Hearing,

this Court will address any scheduling conflicts the parties may

have.
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      15.   Absent compelling circumstances and leave of Court, lead

counsel must appear in person at the Case Management Hearing. Lead

Counsel must be prepared to discuss the claims and defenses as

well as any unique aspects of the case with the Court. This hearing

is an investment of the Court’s time and presents an opportunity

for counsel to meet the judge presiding over their case, as well

as   present   any   issues   that   should   be   called   to   the   Court’s

attention.



            DONE and ORDERED in Chambers, in Tampa, Florida on this

22nd day of November, 2022.




Attachments:
Court’s Interrogatories
Magistrate Judge Consent Form
CMR form for Fast Track Cases
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                 COURT’S INTERROGATORIES TO PLAINTIFF

1.    Are you alleging willful noncompliance with a requirement
      imposed by the Fair Credit Reporting Act, 15 U.S.C. § 1681,
      et seq. (FCRA)?
2.    If you answered yes to number 1, itemize your actual damages
      sustained as a result of the alleged failure to comply, or
      indicate your election of statutory damages.
3.    If you answered yes to number 1, and only if you are seeking
      to impose liability on a natural person for obtaining a
      consumer report under false pretenses or knowingly without a
      permissible purpose, itemize your actual damages sustained as
      a result of the alleged failure to comply, or indicate your
      election of statutory damages.
4.    If you answered yes to number 1, and only if you are a credit
      reporting agency seeking to impose liability on a person who
      obtained a consumer report under false pretenses or knowingly
      without a permissible purpose, itemize your sustained actual
      damages.
5.    Are you alleging negligent noncompliance with a requirement
      imposed by the FCRA?
6.    If you answered yes to number 5, itemize your actual damages
      sustained as a result of the alleged failure to comply.
7.    Specify all attorney’s fees and costs incurred to date. With
      respect to attorney’s fees, provide the hourly rate(s) sought
      and the number of hours expended by each person who has billed
      time to this case.
8.    State the date on which you discovered the alleged violation
      that forms the basis of this action.
9.    State the date on which the alleged violation that forms the
      basis of this action occurred.
10.   Are you seeking or do you intend to seek class certification
      in this action? If so, briefly describe the putative class.
11.   What section(s) of the FCRA are you alleging were violated by
      Defendant?
12.   If you allege a violation of 15 U.S.C. § 1681(b):
      (a) Were you a job applicant or a current employee of
      Defendant at the time Defendant took the alleged adverse
      employment action?
      (b) Did you ever receive a disclosure from Defendant
      indicating that Defendant may procure, or cause to be
      procured, a consumer report? If so, when and by what means?
      (c) Did you ever authorize, in writing, Defendant to
      procure, or cause to be procured, a consumer report?
      (d) If you were a job applicant for a position over which
      the Secretary of Transportation has the power to establish
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      qualification and maximum hours of service pursuant to
      section 31502 of Title 49, or a position subject to safety
      regulation by a State transportation agency, was your only
      contact with the person who procured, or caused to be
      procured, the consumer report by mail, telephone, computer,
      or other similar means?
      (e) When was the alleged adverse employment action taken by
      Defendant?
      (f) What was the alleged adverse employment action?
      (g) When, if at all, did you receive a copy of the consumer
      report that Defendant relied on, in whole or in part, to take
      the alleged adverse employment action?
      (h) When, if at all, did you receive a description, in
      writing, of your rights under the FCRA, as prescribed by the
      Bureau of Consumer Financial Protection under § 1681g(c)(3)?
      (i) Does the consumer report that was used, in whole or in
      part, as the basis for the adverse employment action contain
      medical information, as defined in 15 U.S.C. § 1681a(i)?
      (j) If you answered yes to 12(i), did you provide specific
      written consent for the furnishing of the consumer report
      that described in clear and conspicuous language the use for
      which the information will be furnished?
13.   If you allege a violation of 15 U.S.C. § 1681c, specifically
      identify the information you contend should not have been
      included within the consumer report.
14.   If you allege a violation of 15 U.S.C. § 1681i:
      (a) What information in the consumer report do you contend
      is inaccurate, incomplete, or unverifiable?
      (b) Did you notify, directly or indirectly, the consumer
      reporting agency of your dispute? If so, when and by what
      means?
      (c) Did you receive a notice from the Defendant consumer
      reporting agency that it had determined your dispute was
      frivolous or irrelevant? If so, when did you receive such
      notification and by what means?
      (d) If you received a notice that your dispute was determined
      to be frivolous or irrelevant, what information did the
      notification contain?
      (e) Was information that was deleted from a consumer report
      after a reinvestigation prompted by your dispute reinserted
      into the consumer report?
      (f) If you answered yes to 14(e), when did you receive notice
      of the reinsertion and by what means?
      (g) If you received a notice of reinsertion referenced in
      14(e), what information did the notification contain?
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      (h) When, if at all, did you receive notice of the consumer
      reporting agency’s completion of its reinvestigation prompted
      by your dispute?
      (i) If you received a notice described in 14(h), what
      information did the notification contain and by what means
      were you notified?
      (j) Did you request from the consumer reporting agency a
      description of its procedure to determine the accuracy and
      completeness of the information disputed by you?
      (k) If you answered yes to 14(j), when, if at all, did you
      receive the description referenced in 14(j)?
      (l) If you filed a statement of dispute with the consumer
      reporting agency:
           (I). When did you file your statement of dispute with
           the consumer reporting agency; and
           (II). What consumer reports issued subsequent to the
           filing of your statement of dispute referenced in
           14(l)(I) do not contain your statement or an accurate
           summary thereof?
      (m) Did you request and designate any person to receive
      notice that an item on your consumer report has been deleted
      or to receive your statement of dispute or summary thereof?
      If so, when?
      (n) If you answered yes to 14(m), list any such person and
      the date on which said person received a consumer report
      containing the deleted information.
      (o) If you are suing a reseller, as defined by 15 U.S.C. §
      1681a(u):
           (I). When did you notify the reseller of your dispute;
           (II). What information did you dispute;
           (III). If you allege the reseller referred the dispute
           to a consumer reporting agency for reinvestigation,
           correction, or removal, when, if at all, did you receive
           notice of the completion of the reinvestigation, by what
           means, and what information did the notification
           contain?


                        _________________________________
                             (Plaintiff’s Signature)

STATE OF FLORIDA
COUNTY OF __________________

     BEFORE ME, the undersigned authority, on this day,
personally appeared ________________________________, who being
first duly sworn, and ____ who is personally known to me or ____
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who produced _________ as identification, deposes and says that
he/she has read the foregoing Answers to Interrogatories, knows
the contents of same, and to the best of his/her knowledge and
belief, the same are true and correct.

     SWORN TO AND SUBSCRIBED before me on this _______ day
of_______, 20___.


                                                 NOTARY PUBLIC

                            ______________________________
                  Signature of Person Taking Acknowledgment

Notary Stamp                       Print Name:
                                   Title: Notary Public
                                   Serial No. (if any):
                                   Commission Expires:
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                 COURT’S INTERROGATORIES TO DEFENDANT

1.    If Plaintiff is alleging a violation of 15 U.S.C. § 1681b:
      (a) Did you, or the person who obtained the consumer report
      on your behalf, make the certifications required under 15
      U.S.C. § 1681b(b)(1)?
      (b) Did you ever provide a disclosure to Plaintiff
      indicating that you may procure, or cause to be procured, a
      consumer report? If so, when and by what means?
      (c) Did Plaintiff ever authorize, in writing, you to
      procure, or cause to be procured a consumer report? If so,
      when did you receive such authorization?
      (d) If Plaintiff was a job applicant for a position over
      which the Secretary of Transportation has the power to
      establish qualification and maximum hours of service pursuant
      to section 31502 of Title 49, or a position subject to safety
      regulation by a State transportation agency, was your only
      contact with Plaintiff by mail, telephone, computer, or other
      similar means?
      (e) When did you take the adverse employment action against
      Plaintiff?
      (f) When did you provide Plaintiff with a copy of the
      consumer report used, in whole or in part, as the basis of
      the adverse employment action?
      (g) When and how did you provide Plaintiff a written
      description of his or her rights under the FCRA, as prescribed
      by the Bureau under § 1681g(c)(3)?
2.    If Plaintiff alleges a violation of 15 U.S.C. § 1681i:
      (a) When, if at all, did Plaintiff notify you, directly or
      indirectly,    that   Plaintiff    disputed    the   accuracy,
      completeness, or the ability to verify information contained
      in a consumer report?
      (b) If Plaintiff disputed some information in the consumer
      report, what information did Plaintiff dispute?
      (c) If you determined that Plaintiff’s dispute was frivolous
      or irrelevant, did you notify Plaintiff as such? If so, when
      and how?
      (d) If you sent a notice to Plaintiff informing Plaintiff
      his or her dispute was determined to be frivolous or
      irrelevant, what information did the notification contain?
      (e) Was information ever deleted from a consumer report
      issued by you that pertained to Plaintiff because of a dispute
      made by Plaintiff?
      (f) If you answered yes to 2(e), was the information referred
      to in 2(e) ever reinserted into the consumer report pertaining
      to Plaintiff?
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     (g) If you answered yes to 2(f), when and by what means did
     you send Plaintiff notification of the reinsertion referenced
     in 2(f)?
     (h) If you sent Plaintiff a notification referenced in 2(g),
     what information did the notification contain?
     (i) Did Plaintiff ever request a description of the
     procedure you used to determine the accuracy or completeness
     of information disputed by Plaintiff?
     (j) If you answered yes to 2(i), when, if at all, and how
     did you send Plaintiff a description of the procedure referred
     to in 2(i)?
     (k) Did Plaintiff ever file a statement of dispute with you?
     If so, when and how?
     (l) If Plaintiff ever filed a statement of dispute with you,
     did any subsequently issued consumer report not contain the
     statement of dispute or an accurate summary thereof?
     (m) Did Plaintiff ever request and designate any person to
     receive notice that an item on a consumer report pertaining
     to Plaintiff had been deleted or to receive Plaintiff’s
     statement of dispute or summary thereof?
     (n) If you answered yes to 2(m), when did Plaintiff make
     such request?
     (o) If you answered yes to 2(m), list any such person and
     the date on which said person received a consumer report
     containing the deleted information.
     (p) If you are a reseller, as defined by 15 U.S.C. §
     1681a(u):
           (I). When did you receive notification of Plaintiff’s
           dispute;
          (II). What information did Plaintiff dispute;
           (III). If you referred the dispute to a consumer
           reporting agency for reinvestigation, correction, or
           removal, when, if at all, did you forward the consumer
           reporting agency’s notice of completion as to the
           reinvestigation, by what means, and what information
           did the notification contain?
3.   Regardless of which section of the FCRA Plaintiff alleges you
violated, do you claim any exemption or exception that may be
available under the FCRA in this action? If so, specifically
identify the exemption or exception and state the factual basis
for claiming such exemption or exception.


                        _________________________________
                             (Defendant’s Signature)

STATE OF FLORIDA
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COUNTY OF __________________

     BEFORE ME, the undersigned authority, on this day,
personally appeared ________________________________, who being
first duly sworn, and ____ who is personally known to me or ____
who produced _________ as identification, deposes and says that
he/she has read the foregoing Answers to Interrogatories, knows
the contents of same, and to the best of his/her knowledge and
belief, the same are true and correct.

     SWORN TO AND SUBSCRIBED before me on this _______ day
of_______, 20___.



                                                 NOTARY PUBLIC

                            ______________________________
                  Signature of Person Taking Acknowledgment

Notary Stamp                       Print Name:
                                   Title: Notary Public
                                   Serial No. (if any):
                                   Commission Expires:
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AO 85 (Rev. locally 5/99) Notice, Consent, and Order of Reference B Exercise of Jurisdiction by a United States Magistrate Judge

                                                        UNITED STATES DISTRICT COURT
                                                             Middle District of Florida

_____________________________________,

Plaintiff(s)

v.                                                                                        Case Number: ____________________________

_____________________________________,

Defendant(s)

               NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE TO EXERCISE JURISDICTION

           In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, you are hereby notified that a United States
Magistrate Judge of this District Court is available to conduct any or all proceedings in this case, including a jury or bench trial, and to order the entry
of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is, however, permitted only if all parties voluntarily consent, as evidenced by
execution of the Consent portion hereof, all together on this form, to the exercise of jurisdiction by a United States Magistrate Judge.

          You may, without adverse substantive consequences, withhold your consent; but this will prevent the Court's jurisdiction from being
exercised by a Magistrate Judge. If any party withholds consent, the identity of the parties consenting or withholding consent will not be
communicated to any Magistrate Judge or to the District Judge to whom the case has been assigned.

           Appeal from a judgment entered by a Magistrate Judge shall be taken directly to the United States Court of Appeals for the Eleventh
Circuit, in the same manner as an appeal from any other judgment of this District Court.

                   CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties in this case hereby voluntarily consent to have a
United States Magistrate Judge conduct any and all further proceedings in the case, including the trial; order the entry of a final judgment; and
conduct all post-judgment proceedings, as necessary.

Signatures                                          Parties Represented                                                     Date Signed

____________________________                        ________________________________________                           ____________________

____________________________                        ________________________________________                           ____________________

____________________________                        ________________________________________                           ____________________

                                                              ORDER OF REFERENCE

IT IS HEREBY ORDERED that this case be referred to Honorable, __________________________________, United States Magistrate
Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and the foregoing
consent of the parties.

_____________________                               ________________________________________________________________
Date                                                VIRGINIA M. HERNANDEZ COVINGTON, United States District Judge

NOTE: RETURN THIS FORM TO CLERK OF COURT ONLY IF ALL PARTIES HAVE SIGNED ON
THIS FORM CONSENTING TO EXERCISE OF JURISDICTION BY A MAGISTRATE JUDGE.
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                             United States District Court
                              Middle District of Florida
                                  Tampa Division
__________________________________,
Plaintiff(s),

v.                                                                    Case No. ____________________________

__________________________________,
Defendant(s).
_____________________________________/

                                                  CASE MANAGEMENT REPORT

                                          TO BE USED FOR THE FOLLOWING CASES:
                                             FAIR LABOR STANDARDS ACT (FLSA);
                                     TITLE III AMERICANS WITH DISABILITIES ACT (ADA);
                                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA);
                                      TELEPHONE CONSUMER PROTECTION ACT (TCPA);
                                  FLORIDA CONSUMER COLLECTION PRACTICES ACT (FCCPA);
                                  REAL ESTATE SETTLEMENT PROCEDURES ACT (RESPA); AND
                                            FAIR CREDIT REPORTING ACT (FCRA).

         The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ. P. 26(f):

                                      DEADLINE OR EVENT
                                                                                                          AGREED DATE
 Certificate of Interested Persons and Corporate Disclosure Statement

 Mandatory Initial Disclosures

 Discovery Deadline

 Dispositive Motions

 Meeting In Person to Prepare Joint Final Pretrial Statement

 Joint Final Pretrial Statement
 [Including a Single Set of Jointly-Proposed Jury Instructions and Verdict Form, Voir Dire
 Questions, Witness Lists, & Exhibit Lists with Objections on Approved Form (to be e-mailed in
 Word format to chambers_flmd_covington@flmd.uscourts.gov)]
 Final Pretrial Conference
 [The Court will set a date]
 Trial Term Begins
 [Trial term must be 5 weeks after dispositive motions deadline (unless filing of such motions is
 waived); district judge trial terms begin on the first Monday of each month; trials before magistrate
 judges will be set on a date certain after consultation with the parties]
 [90-120 days after mediation conference]
 Estimated Length of Trial
 [Number of trial days]

 Jury / Non-Jury
